         Case 18-12705-amc                            Doc 21        Filed 05/24/18 Entered 05/24/18 16:50:43                                 Desc Main
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  Fill in this information to identify your case and this filing:
  Debtor 1               Charles                     Stewart             Cohen
                         First Name                  Middle Name         Last Name

  Debtor 2            Ofelia                                             Cohen
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

  Case number            18-12705AMC7
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
333 Rosemary Lane                                          Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                        Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building             Current value of the       Current value of the
                                                               Condominium or cooperative                entire property?           portion you own?
Narberth                         PA       19072                Manufactured or mobile home                         $977,396.00                $977,396.00
City                             State    ZIP Code             Land
                                                               Investment property                       Describe the nature of your ownership
                                                               Timeshare                                 interest (such as fee simple, tenancy by the
                                                               Other                                     entireties, or a life estate), if known.
County
                                                           Who has an interest in the property?
                                                                                                         Tenants By The Entireties
Residence BOA FMV Surrender
                                                           Check one.
Collateral
                                                               Debtor 1 only                                Check if this is community property
                                                               Debtor 2 only                                (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 1
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Debtor 1         Charles Stewart Cohen
Debtor 2         Ofelia Cohen                                                                          Case number (if known)         18-12705AMC7

1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
Marriott Ownership Resorts, Inc Land                     Check all that apply.                               amount of any secured claims on Schedule D:
Trust No. 1082-3000-00                                        Single-family home                             Creditors Who Have Claims Secured by Property.
Marriott Ownership Resorts, Inc Land                          Duplex or multi-unit building                  Current value of the            Current value of the
Trust No. 1082-3000-00--Surrender                             Condominium or cooperative                     entire property?                portion you own?
Collateral                                                    Manufactured or mobile home                                   Unknown                    Unknown
                                                              Land
                                                              Investment property                            Describe the nature of your ownership
County                                                        Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Future Interest
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................           $977,396.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Toyota                       Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      RAV$
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2013
                                                              Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 50,000                                   At least one of the debtors and another            $11,313.00                           $11,313.00
Other information:
2013 Toyota RAV$ (approx. 50000                               Check if this is community property
miles) KBB FMV                                                (see instructions)
4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.     Add the dollar value of the portion you own for all of your entries from Part 2, including any
       entries for pages you have attached for Part 2. Write that number here.............................................................            $11,313.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
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Debtor 2         Ofelia Cohen                                                                                        Case number (if known)             18-12705AMC7

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe............
                                6. Household goods & furnishings                                                                                                           $4,200.00

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                  $2,100.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                12. Jewelry                                                                                                                                $1,200.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................      $7,500.00


  Part 4:          Describe Your Financial Assets
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 3
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Debtor 1         Charles Stewart Cohen
Debtor 2         Ofelia Cohen                                                                                                          Case number (if known)                    18-12705AMC7

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                    Institution name:

            17.1.        Checking account:                      Checking account--PNC Bank                                                                                                                       $300.00
            17.2.        Checking account:                      Checking account--Citizens Bank                                                                                                                       $9.00
            17.3.        Checking account:                      Checking account--Chase                                                                                                                          $801.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                               % of ownership:

                                                 A La Karte, LLC--Catering Business                                                                                 100%                                              $1.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.                Type of account:                     Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                                 Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)




Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                    page 4
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Debtor 2        Ofelia Cohen                                                                Case number (if known)     18-12705AMC7

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information Federal: Potential IRS Tax Refund--Tax refund to be                        Federal:             $7,380.00
           about them, including whether exemptible to maximum allowed under Sec. 522(d)(5)--
           you already filed the returns                                                                             State:                    $0.00
                                                    Estimated Refund $7,380. Amt: $7,380.00
           and the tax years.....................................
                                                                                                                     Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................   Company name:                            Beneficiary:                     Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information




Official Form 106A/B                                              Schedule A/B: Property                                                        page 5
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Debtor 1         Charles Stewart Cohen
Debtor 2         Ofelia Cohen                                                                                        Case number (if known)             18-12705AMC7

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $8,491.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Charles Stewart Cohen
Debtor 2          Ofelia Cohen                                                                                       Case number (if known)             18-12705AMC7

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Charles Stewart Cohen
Debtor 2           Ofelia Cohen                                                                                               Case number (if known)                18-12705AMC7


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $977,396.00

56. Part 2: Total vehicles, line 5                                                                                  $11,313.00

57. Part 3: Total personal and household items, line 15                                                               $7,500.00

58. Part 4: Total financial assets, line 36                                                                           $8,491.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $27,304.00              property total                 +           $27,304.00


63. Total of all property on Schedule A/B.                                                                                                                                              $1,004,700.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                  page 8
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Debtor 1    Charles Stewart Cohen
Debtor 2    Ofelia Cohen                                                Case number (if known)   18-12705AMC7


11. Clothes (details):

    11. Clothes                                                                                                  $700.00

    11. Clothes                                                                                                 $1,400.00




Official Form 106A/B                           Schedule A/B: Property                                               page 9
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 Fill in this information to identify your case:
 Debtor 1            Charles              Stewart                Cohen
                     First Name           Middle Name            Last Name
 Debtor 2            Ofelia                                      Cohen
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA
                                                                                                                     Check if this is an
 Case number         18-12705AMC7                                                                                    amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                         $11,313.00                  $3,775.00          11 U.S.C. § 522(d)(2)
2013 Toyota RAV$ (approx. 50000 miles)                                            100% of fair market
KBB FMV                                                                           value, up to any
(1st exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit

Brief description:                                         $11,313.00                  $7,538.00          11 U.S.C. § 522(d)(5)
2013 Toyota RAV$ (approx. 50000 miles)                                            100% of fair market
KBB FMV                                                                           value, up to any
(2nd exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit

Brief description:                                          $4,200.00                  $4,200.00          11 U.S.C. § 522(d)(3)
6. Household goods & furnishings                                                  100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:           6
                                                                                  applicable statutory
                                                                                  limit

3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 2      Ofelia Cohen                                                           Case number (if known)   18-12705AMC7

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $700.00                  $700.00           11 U.S.C. § 522(d)(3)
11. Clothes                                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,400.00                $1,400.00          11 U.S.C. § 522(d)(3)
11. Clothes                                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,200.00                $1,200.00          11 U.S.C. § 522(d)(4)
12. Jewelry                                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           11 U.S.C. § 522(d)(5)
Checking account--PNC Bank                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $9.00                     $9.00           11 U.S.C. § 522(d)(5)
Checking account--Citizens Bank                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.2
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $801.00                  $801.00           11 U.S.C. § 522(d)(5)
Checking account--Chase                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.3
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $1.00           11 U.S.C. § 522(d)(5)
A La Karte, LLC--Catering Business                                           100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    19
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $7,380.00                $7,380.00          11 U.S.C. § 522(d)(5)
Potential IRS Tax Refund--Tax refund to be                                   100% of fair market
exemptible to maximum allowed under                                          value, up to any
Sec. 522(d)(5)--Estimated Refund $7,380                                      applicable statutory
Line from Schedule A/B: 28                                                   limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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  Fill in this information to identify your case:
  Debtor 1             Charles                Stewart               Cohen
                       First Name             Middle Name           Last Name

  Debtor 2            Ofelia                                        Cohen
  (Spouse, if filing) First Name              Middle Name           Last Name


  United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

  Case number          18-12705AMC7
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $250,180.00             $977,396.00            $250,180.00
Citizens Bank
Creditor's name
                                                 333 Rosemary Lane
1 Citizens Dr
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Riverside                RI      02915               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                3rd Mortgage
   to a community debt
Date debt was incurred           01/29/2010      Last 4 digits of account number        7     3    3    8
Charge Off for $250180 on 10/17
Account Closed
ACCOUNT TRANSFERRED




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $250,180.00

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Debtor 1      Charles Stewart Cohen
Debtor 2      Ofelia Cohen                                                                Case number (if known)      18-12705AMC7

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $39,708.00                    $0.00       $39,708.00
Marriott Ownership                            Marriott Ownership Resorts,
Creditor's name
1200 Bartow Rd. Suite 14                      Inc Land Trust No. 10
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Lakeland                FL      33801             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Conventional Real Estate Mortgage
   to a community debt
Date debt was incurred          01/2016       Last 4 digits of account number        4     0    6    2

  2.3                                         Describe the property that
                                              secures the claim:                           $249,372.00             $977,396.00       $219,009.00
Pnc Bank
Creditor's name
                                              333 Rosemary Lane
2730 Liberty Ave
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Pittsburgh              PA      15222             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                2nd Mortgage
   to a community debt
Date debt was incurred          06/2009       Last 4 digits of account number        7     3    9    6
Account Closed By Grantor




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $289,080.00

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Debtor 1      Charles Stewart Cohen
Debtor 2      Ofelia Cohen                                                                Case number (if known)      18-12705AMC7

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                           $947,033.00             $977,396.00
Rushmore Lms                                  333 Rosemary Lane
Creditor's name
Attn: Bankruptcy
Number     Street
PO Box 55004
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Irvine                  CA      92619             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                1st Mortgage
   to a community debt
Date debt was incurred          12/2009       Last 4 digits of account number        7     2    0    9
In Foreclosure




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $947,033.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                       $1,486,293.00

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  Fill in this information to identify your case:
  Debtor 1             Charles               Stewart                Cohen
                       First Name            Middle Name            Last Name

  Debtor 2            Ofelia                                        Cohen
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

  Case number          18-12705AMC7
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $2,000.00           $2,000.00                $0.00
Commonwealth of PA-Dept. of Revenue
Priority Creditor's Name                                   Last 4 digits of account number
Bureau of Individual Taxes                                 When was the debt incurred?
Number       Street
Dept. 280601                                               As of the date you file, the claim is: Check all that apply.
Inheritance Tax Division                                       Contingent
                                                               Unliquidated
Harrisburg                      PA      17128                  Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 2       Ofelia Cohen                                                                     Case number (if known)      18-12705AMC7

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                        $26,064.98
American Express                                            Last 4 digits of account number         1 0        0     6
Nonpriority Creditor's Name
                                                            When was the debt incurred?           04/1989
P.O. Box 1270
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Newark                          NJ      07101
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes
Personal Gold
     4.2                                                                                                                                          $2,750.00
American Express                                            Last 4 digits of account number         5 0        0     8
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2012
P.O. Box 981535
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
El Paso                         TX      79998
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes
Business Gold Credit Card




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 2       Ofelia Cohen                                                                Case number (if known)       18-12705AMC7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                 $3,250.00
American Express                                         Last 4 digits of account number      1 0        0    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2012
P.O. Box 981535
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Business Gold Credit Card

   4.4                                                                                                                                 $2,971.00
American Express                                         Last 4 digits of account number       5    0    0    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2012
P.O. Box 1270
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Newark                        NJ      07101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Business Platinum

   4.5                                                                                                                                 Unknown
Americollect INC                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO BOX 1566
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Manitowoc                     WI      54221-1566
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Agency
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)       18-12705AMC7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                                 $4,499.00
BMW Financial Services                                   Last 4 digits of account number      2 0        3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2015
Attn: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 3608                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Dublin                        OH      43016
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Lease
Is the claim subject to offset?
     No
     Yes
Reject Lease

   4.7                                                                                                                                    $0.00
Capital One                                              Last 4 digits of account number       2    0    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2017
PO Box 21887
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Eagan                         MN      55121
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
     No
     Yes
333 Rosemary Lane




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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)       18-12705AMC7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.8                                                                                                                                      $0.00
Cavalry SPV, I, LLC                                      Last 4 digits of account number       5    9    9    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
500 Summit Lake Drive, Suite 400
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Valhalla                      NY      10595
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
formerly Citi - sold to Calvary in 2018

   4.9                                                                                                                                 $23,924.00
Chase Card Services                                      Last 4 digits of account number       3    5    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2011
Correspondence Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account




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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)       18-12705AMC7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.10                                                                                                                                 $24,453.00
Citicards                                                Last 4 digits of account number      0 4        6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/1992
Citicorp Credit Services/Attn: Centraliz
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790040                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Charge Off for $24453 on 03/18
Account Closed By Grantor
  4.11                                                                                                                                  $7,655.00
Citicards                                                Last 4 digits of account number      5 9        9    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/1983
Citicorp Credit Services/Attn: Centraliz
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790040                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Charge Off for $7655 on 03/18
Account Closed By Grantor




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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)       18-12705AMC7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                                 $12,383.00
Discover Financial                                       Last 4 digits of account number      1 0        4    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/1999
PO Box 3025
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
New Albany                    OH      43054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Current Account

  4.13                                                                                                                                 $17,877.29
Har Zion Temple                                          Last 4 digits of account number       0    3    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2014
1500 Hagy's Ford Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Penn Valley                   PA      19072
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Micellaneous
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                  $1,046.00
Hollywood/Fire/Rescue & Beach Safety Dep                 Last 4 digits of account number      3 8        2    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2018
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Security
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 7
         Case 18-12705-amc                 Doc 21         Filed 05/24/18 Entered 05/24/18 16:50:43                                Desc Main
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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)       18-12705AMC7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                                 Unknown
JH2 Properties, LLC                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
112 Birch Avenue
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Bala Cynwyd                   PA      19004
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Contract/Lease
Is the claim subject to offset?
     No
     Yes
Assume Apartment Lease

  4.16                                                                                                                                  $485.00
Kohls/Capital One                                        Last 4 digits of account number       7    3    8    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2005
Kohls Credit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 3120                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Milwaukee                     WI      53201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes
Charge Off for $485 on 02/18
Account Closed By Grantor




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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)       18-12705AMC7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.17                                                                                                                                   $195.00
MAIN LINE GASTROENTEROLOGY AssociatesLast 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2018
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expenses
Is the claim subject to offset?
     No
     Yes

  4.18                                                                                                                                 $23,924.23
Marriot Rewards                                          Last 4 digits of account number       3    5    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        1/2018
PO Box 15123
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                   $485.70
Merchants & Medical Credit Corp, Inc.                    Last 4 digits of account number      2 2        3    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        3/5/18
6324 Taylor Dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Flint                         MI      48507
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Agency
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)       18-12705AMC7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.20                                                                                                                                 $6,400.00
United Healthcare                                        Last 4 digits of account number      8 3        4    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/2018
Dept CH10151
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Palatine                      IL      60055
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Insurance
Is the claim subject to offset?
     No
     Yes

  4.21                                                                                                                                 Unknown
United Healthcare Service LLC                            Last 4 digits of account number       9    5    2    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Greensboro Service Center
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 740800                                                Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30374-0800
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Insurance
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                  $396.00
Yellow Pages United                                      Last 4 digits of account number      0 7        9    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/01/18
PO Box 50038
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Jacksonville                  FL      32240
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 10
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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)       18-12705AMC7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.23                                                                                                                                 Unknown
Yentis, Inc.                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7300 City Avenue
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Philadelphia                  PA      19151
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Contract/Lease
Is the claim subject to offset?
     No
     Yes
Assume Lease for Catering Business




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 11
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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)    18-12705AMC7

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Milstead and Associates                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1 East Stow Road                                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Marlton                         NJ      08053
City                            State   ZIP Code
333 Rosemary Lane

Milstead and Associates                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1 East Stow Road                                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Capital One, Inc                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       2    1    1    0
Marlton                         NJ      08053
City                            State   ZIP Code


Robert Davis                                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2000 South Orange Avenue                                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
Suite 2600                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       s     I   n    c
Orlando                         FL      32801
City                            State   ZIP Code




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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                            Case number (if known)        18-12705AMC7

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.              $2,000.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.              $2,000.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $158,759.20


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $158,759.20




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 13
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 Fill in this information to identify your case:
 Debtor 1             Charles               Stewart                Cohen
                      First Name            Middle Name            Last Name

 Debtor 2            Ofelia                                        Cohen
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number          18-12705AMC7
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      BMW Financial Services                                                       Vehicle Lease
          Name                                                                         Contract to be REJECTED
          Attn: Bankruptcy Department
          Number    Street
          PO Box 3608
          Dublin                                       OH        43016
          City                                         State     ZIP Code

 2.2      Herbert Yentis, Inc.                                                         Business Lease for Catering Business
          Name                                                                         Contract to be ASSUMED
          7300 City Avenue
          Number    Street



          Philadelphia                                 PA        19151
          City                                         State     ZIP Code

 2.3      JH2 Properties, LLC                                                          Apartment Lease
          Name                                                                         Contract to be ASSUMED
          112 Birch Avenue
          Number    Street



          Bala Cynwyd                                  PA        19004
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Charles             Stewart                 Cohen
                     First Name          Middle Name             Last Name

 Debtor 2            Ofelia                                      Cohen
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         18-12705AMC7
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                     page 1
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 Fill in this information to identify your case:
     Debtor 1              Charles               Stewart                Cohen
                           First Name            Middle Name            Last Name                           Check if this is:
     Debtor 2              Ofelia                                       Cohen                                    An amended filing
     (Spouse, if filing)   First Name            Middle Name            Last Name
                                                                                                                 A supplement showing postpetition
     United States Bankruptcy Court for the:    EASTERN DIST. OF PENNSYLVANIA
                                                                                                                 chapter 13 income as of the following date:
     Case number           18-12705AMC7
     (if known)
                                                                                                                 MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                              Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status              Employed                                           Employed
      with information about                                           Not employed                                       Not employed
      additional employers.
                                        Occupation              Consultant--Form 1099                              Owner
      Include part-time, seasonal,
      or self-employed work.            Employer's name         Self- Employed                                     A La Karte, LLC

      Occupation may include            Employer's address                                                         302 Levering Mill Road
      student or homemaker, if it                               Number Street                                      Number Street
      applies.




                                                                                                                   Bala Cynwyd            PA      19004
                                                                City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?         6 Months                                          5 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                             For Debtor 1            For Debtor 2 or
                                                                                                                     non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                   $3,000.00                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                       3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                  4.               $3,000.00                  $0.00




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Debtor 1        Charles Stewart Cohen
Debtor 2        Ofelia Cohen                                                                                                     Case number (if known)    18-12705AMC7
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $3,000.00            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.                  $0.00                $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.                  $0.00                $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                  $0.00                $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                  $0.00                $0.00
     5e. Insurance                                                                                          5e.                  $0.00                $0.00
     5f. Domestic support obligations                                                                       5f.                  $0.00                $0.00
     5g. Union dues                                                                                         5g.                  $0.00                $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.                   $0.00                $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $3,000.00                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00           $4,862.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                $0.00
     8e. Social Security                                                                                    8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify: Estimated Prorated IRS Refund                                                             8h. +            $615.00                  $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.               $615.00             $4,862.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $3,615.00 +         $4,862.00 =                                                   $8,477.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $8,477.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
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Debtor 1      Charles Stewart Cohen
Debtor 2      Ofelia Cohen                                                           Case number (if known)   18-12705AMC7

8a. Attached Statement (Debtor 2)
                                         A La Karte, LLC--See 6 Month P&L(Attached)
FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

     1. Gross Income for 12 Months Prior to Filing:                                     $24,113.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

     2. Gross Monthly Income:                                                                                         $24,113.00
PART C - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:

     3. Net Employee Payroll (Other Than Debtor):                                        $6,411.00
     4. Payroll Taxes:                                                                       $0.00
     5. Unemployment Taxes:                                                                  $0.00
     6. Worker's Compensation:                                                               $0.00
     7. Other Taxes:                                                                         $0.00
     8. Inventory Purchases (including raw materials):                                   $6,161.00
     9. Purchase of Feed/Fertilizer/Seed/Spray:                                              $0.00
     10. Rent (other than debtor's principal residence):                                 $1,765.00
     11. Utilities:                                                                      $1,655.00
     12. Office Expenses and Supplies:                                                    $165.00
     13. Repairs and Maintenance:                                                         $593.00
     14. Vehicle Expenses:                                                               $1,048.00
     15. Travel and Entertainment:                                                           $0.00
     16. Equipment Rental and Leases:                                                     $579.00
     17. Legal/Accounting/Other Professional Fees:                                           $0.00
     18. Insurance:                                                                       $337.00
     19. Employee Benefits (e.g., pension, medical, etc.):                                   $0.00
     20. Payments to be Made Directly by Debtor to Secured Creditors for
          Pre-Petition Business Debts (Specify):                                              None
     21. Other (Specify):
           Advertising                                                                     $175.00
           Bank Fees                                                                        $38.00
           Charity/Goodwill                                                                 $44.00
           Payroll Service                                                                  $71.00
           Misc. Operating Expenses                                                        $209.00
     22. Total Monthly Expenses (Add items 3 - 21)                                                                    $19,251.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:

     23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2):                                                      $4,862.00




Official Form 106I                                         Schedule I: Your Income                                          page 3
        Case 18-12705-amc                      Doc 21        Filed 05/24/18 Entered 05/24/18 16:50:43                                      Desc Main
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Charles                Stewart                Cohen                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Ofelia                                        Cohen
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DIST. OF PENNSYLVANIA                                  MM / DD / YYYY
     Case number           18-12705AMC7
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                             No
                                                                                  Son                                 17
                                                                                                                                            Yes
      Do not state the dependents'
                                                                                                                                            No
      names.                                                                      Son                                 18
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                  Son                                 22
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                     $1,850.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                      $75.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                         page 1
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Debtor 1      Charles Stewart Cohen
Debtor 2      Ofelia Cohen                                                               Case number (if known)   18-12705AMC7
                                                                                                            Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                       5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                               6a.                     $165.00
     6b. Water, sewer, garbage collection                                                             6b.                      $35.00
     6c. Telephone, cell phone, Internet, satellite, and                                              6c.                     $215.00
         cable services
     6d. Other. Specify:                                                                              6d.

7.   Food and housekeeping supplies                                                                   7.                      $575.00
8.   Childcare and children's education costs                                                         8.

9.   Clothing, laundry, and dry cleaning                                                              9.                      $125.00
10. Personal care products and services                                                               10.

11. Medical and dental expenses                                                                       11.                      $90.00
12. Transportation. Include gas, maintenance, bus or train                                            12.                     $415.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                     13.
    magazines, and books
14. Charitable contributions and religious donations                                                  14.                      $25.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                            15a.

     15b.   Health insurance                                                                          15b.                     $75.00
     15c.   Vehicle insurance                                                                         15c.                    $350.00
     15d.   Other insurance. Specify:                                                                 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                          16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                17a.

     17b.   Car payments for Vehicle 2                                                                17b.

     17c.   Other. Specify:                                                                           17c.

     17d.   Other. Specify:                                                                           17d.

18. Your payments of alimony, maintenance, and support that you did not report as                     18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                          19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                               20a.

     20b.   Real estate taxes                                                                         20b.

     20c.   Property, homeowner's, or renter's insurance                                              20c.

     20d.   Maintenance, repair, and upkeep expenses                                                  20d.

     20e.   Homeowner's association or condominium dues                                               20e.



 Official Form 106J                                          Schedule J: Your Expenses                                           page 2
      Case 18-12705-amc                    Doc 21       Filed 05/24/18 Entered 05/24/18 16:50:43                             Desc Main
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Debtor 1      Charles Stewart Cohen
Debtor 2      Ofelia Cohen                                                                     Case number (if known)   18-12705AMC7
21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.              $3,995.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.              $4,397.00
    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.              $8,392.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.              $8,477.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –          $8,392.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                 $85.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                The debtor anticipates monthly rental income of $1850 per month once residence is sold at Sheriff sale
                scheduled for May 30, 2018. 2 sons will be living with debtor.




 Official Form 106J                                         Schedule J: Your Expenses                                              page 3
        Case 18-12705-amc                      Doc 21        Filed 05/24/18 Entered 05/24/18 16:50:43                                      Desc Main
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1               Charles               Stewart                Cohen                               An amended filing
                            First Name            Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2               Ofelia                                       Cohen
     (Spouse, if filing)    First Name            Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DIST. OF PENNSYLVANIA                                  MM / DD / YYYY
     Case number            18-12705AMC7
     (if known)

Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2                                                                                         12/15
Use this form for Debtor 2's separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households.
If Debtor 1 and Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer
the questions on this form only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and
accurate as possible. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.

 Part 1:          Describe Your Household
1.    Do you and Debtor 1 maintain separate households?

            No. Do not complete this form.
            Yes
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 but list all                                                Debtor 2:                      age              live with you?
                                               for each dependent...................................
      other dependents of Debtor 2                                                                                                          No
      regardless of whether listed                                                Son                                 17
                                                                                                                                            Yes
      as a dependent of Debtor 1
                                                                                                                                            No
      on Schedule J.                                                              Son                                 18
                                                                                                                                            Yes
      Do not state the dependents'                                                                                                          No
                                                                                  Son                                 22
      names.                                                                                                                                Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself, your dependents, and


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed.


Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                     $2,050.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.                      $25.00
      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                      $75.00

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J-2                        Schedule J-2: Expenses for Separate Household of Debtor 2                                            page 1
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Debtor 1      Charles Stewart Cohen
Debtor 2      Ofelia Cohen                                                               Case number (if known)   18-12705AMC7
                                                                                                            Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                       5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                               6a.                     $210.00
     6b. Water, sewer, garbage collection                                                             6b.                      $27.00
     6c. Telephone, cell phone, Internet, satellite, and                                              6c.                     $145.00
         cable services
     6d. Other. Specify:                                                                              6d.

7.   Food and housekeeping supplies                                                                   7.                      $600.00
8.   Childcare and children's education costs                                                         8.

9.   Clothing, laundry, and dry cleaning                                                              9.                      $150.00
10. Personal care products and services                                                               10.                      $75.00
11. Medical and dental expenses                                                                       11.                     $125.00
12. Transportation. Include gas, maintenance, bus or train                                            12.                     $425.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                     13.
    magazines, and books
14. Charitable contributions and religious donations                                                  14.                      $50.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                            15a.

     15b.   Health insurance                                                                          15b.

     15c.   Vehicle insurance                                                                         15c.                    $122.00
     15d.   Other insurance. Specify:                                                                 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                          16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    Vehicle Lease after Filing                                  17a.                    $318.00
     17b.   Car payments for Vehicle 2                                                                17b.

     17c.   Other. Specify:                                                                           17c.

     17d.   Other. Specify:                                                                           17d.

18. Your payments of alimony, maintenance, and support that you did not report as                     18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                          19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                               20a.

     20b.   Real estate taxes                                                                         20b.

     20c.   Property, homeowner's, or renter's insurance                                              20c.

     20d.   Maintenance, repair, and upkeep expenses                                                  20d.

     20e.   Homeowner's association or condominium dues                                               20e.



 Official Form 106J-2                     Schedule J-2: Expenses for Separate Household of Debtor 2                              page 2
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Debtor 1      Charles Stewart Cohen
Debtor 2      Ofelia Cohen                                                                    Case number (if known)   18-12705AMC7
21. Other. Specify:                                                                                          21.   +
22. Your monthly expenses. Add lines 4 through 21.
    The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate   22.              $4,397.00
    the total expenses for Debtor 1 and Debtor 2.

23. Line not used on this form.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J-2                     Schedule J-2: Expenses for Separate Household of Debtor 2                               page 3
       Case 18-12705-amc                                 Doc 21            Filed 05/24/18 Entered 05/24/18 16:50:43                                                               Desc Main
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 Fill in this information to identify your case:
 Debtor 1                Charles                       Stewart                        Cohen
                         First Name                    Middle Name                    Last Name

 Debtor 2            Ofelia                                                           Cohen
 (Spouse, if filing) First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number             18-12705AMC7
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $977,396.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $27,304.00
     1b. Copy line 62, Total personal property, from Schedule A/B.................................................................................................................................................................


                                                                                                                                                                         $1,004,700.00
     1c. Copy line 63, Total of all property on Schedule A/B........................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                      $1,486,293.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                          $2,000.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $158,759.20
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                      $1,647,052.20




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $8,477.00
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                   $8,392.00




Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Charles Stewart Cohen
Debtor 2      Ofelia Cohen                                                                 Case number (if known)     18-12705AMC7


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $7,945.33


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                   $2,000.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00

     9d. Student loans. (Copy line 6f.)                                                                                $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.    Add lines 9a through 9f.                                                                      $2,000.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Charles               Stewart            Cohen
                    First Name            Middle Name        Last Name

 Debtor 2            Ofelia                                  Cohen
 (Spouse, if filing) First Name           Middle Name        Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number        18-12705AMC7
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Charles Stewart Cohen                             X /s/ Ofelia Cohen
        Charles Stewart Cohen, Debtor 1                        Ofelia Cohen, Debtor 2

        Date 05/24/2018                                        Date 05/24/2018
             MM / DD / YYYY                                         MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1
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 Fill in this information to identify your case:
 Debtor 1           Charles                 Stewart              Cohen
                    First Name              Middle Name          Last Name

 Debtor 2            Ofelia                                      Cohen
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number        18-12705AMC7
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

         No
         Yes. Fill in the details.

                                                    Debtor 1                                             Debtor 2

                                                  Sources of income          Gross income            Sources of income           Gross income
                                                  Check all that apply.      (before deductions      Check all that apply.       (before deductions
                                                                             and exclusions                                      and exclusions

From January 1 of the current year until              Wages, commissions,            $16,500.00           Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                       bonuses, tips
                                                      Operating a business                                Operating a business


For the last calendar year:                           Wages, commissions,            $17,378.00           Wages, commissions,
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                                Operating a business


For the calendar year before that:                    Wages, commissions,           ($22,711.00)          Wages, commissions,
                                                      bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2016 )
                                  YYYY                Operating a business                                Operating a business




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1         Charles Stewart Cohen
Debtor 2         Ofelia Cohen                                                               Case number (if known)      18-12705AMC7
5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.    Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  "incurred by an individual primarily for a personal, family, or household purpose."

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                  * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.




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Debtor 1         Charles Stewart Cohen
Debtor 2         Ofelia Cohen                                                                Case number (if known)      18-12705AMC7
8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                         Court or agency                                Status of the case
Capital One v. Debtors                     Mortgage Forclosure                        Montgomery County, CCP
                                                                                                                                               Pending
                                                                                      Court Name
                                                                                                                                               On appeal
                                                                                      Number     Street
Case number 2017-16221-0                                                                                                                       Concluded


                                                                                      City                       State    ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                                Case number (if known)     18-12705AMC7

  Part 5:        List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Mike Cibik                                             Chapter 7 fee                                            or transfer was     payment
Person Who Was Paid                                                                                             made

Suite 900                                                                                                            4/23/18            $2,500.00
Number      Street

1500 Walnut street

Philadelphia                  Pa       19102
City                          State    ZIP Code

ccpc@ccpclaw.com
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                              Case number (if known)     18-12705AMC7
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




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Debtor 1        Charles Stewart Cohen
Debtor 2        Ofelia Cohen                                                                    Case number (if known)         18-12705AMC7

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
A La Karte, LLC                                   Catering Business                                   Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN:           –
302 Levering Mill Road                            Name of accountant or bookkeeper
Number       Street
                                                  Alan Lipoff, CPA                                    Dates business existed

                                                                                                      From        2012           To   Current
Bala Cynwyd                PA      19004
City                       State   ZIP Code




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Debtor 1       Charles Stewart Cohen
Debtor 2       Ofelia Cohen                                                              Case number (if known)   18-12705AMC7
28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




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Debtor 1     Charles Stewart Cohen
Debtor 2     Ofelia Cohen                                                            Case number (if known)    18-12705AMC7

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Charles Stewart Cohen                           X /s/ Ofelia Cohen
   Charles Stewart Cohen, Debtor 1                        Ofelia Cohen, Debtor 2

   Date     05/24/2018                                    Date     05/24/2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                    Attach the Bankruptcy Petition Preparer's Notice,
                                                                                           Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:
 Debtor 1              Charles            Stewart                 Cohen
                       First Name         Middle Name             Last Name

 Debtor 2            Ofelia                                       Cohen
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number           18-12705AMC7
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        BMW Financial Services                                Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Lease                                                 Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        Reject Lease
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Citizens Bank                                         Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    333 Rosemary Lane                                     Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Marriott Ownership                                    Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Marriott Ownership Resorts, Inc Land                  Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        Trust No. 10
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1     Charles Stewart Cohen
Debtor 2     Ofelia Cohen                                                            Case number (if known)     18-12705AMC7

    Identify the creditor and the property that is collateral      What do you intend to do with the            Did you claim the property
                                                                   property that secures a debt?                as exempt on Schedule C?
    Creditor's       Pnc Bank                                           Surrender the property.                      No
    name:                                                               Retain the property and redeem it.           Yes
    Description of   333 Rosemary Lane                                  Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:


    Creditor's       Rushmore Lms                                       Surrender the property.                      No
    name:                                                               Retain the property and redeem it.           Yes
    Description of   333 Rosemary Lane                                  Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:



 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                           Will this lease be assumed?

    Lessor's name:        BMW Financial Services                                                                   No
    Description of leased Vehicle Lease                                                                            Yes
    property:


    Lessor's name:        Herbert Yentis, Inc.                                                                     No
    Description of leased Business Lease for Catering Business                                                     Yes
    property:


    Lessor's name:        JH2 Properties, LLC                                                                      No
    Description of leased Apartment Lease                                                                          Yes
    property:




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Debtor 1     Charles Stewart Cohen
Debtor 2     Ofelia Cohen                                                           Case number (if known)   18-12705AMC7

 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Charles Stewart Cohen                          X /s/ Ofelia Cohen
   Charles Stewart Cohen, Debtor 1                       Ofelia Cohen, Debtor 2

   Date 05/24/2018                                       Date 05/24/2018
        MM / DD / YYYY                                        MM / DD / YYYY




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B2030 (Form 2030) (12/15)
                                                         UNITED STATES BANKRUPTCY COURT
                                                         EASTERN DISTRICT OF PENNSYLVANIA
                                                               PHILADELPHIA DIVISION
In re Charles Stewart Cohen                                                                                                         Case No.           18-12705AMC7
      Ofelia Cohen
                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $2,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $2,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Continued Meeting of Creditor Hearings, Addition of Creditors after Filing Petition, Motions to Avoid Liens, Motions
   for Relief from the Automatic Stay, Motions to Dismiss Case, Adverserial Proceedings & Discharge Litigation,
   Depositions, Asset Cramdowns, Objection to Proof of Claims, Certification of Stipulation Defaults, Motions for Plan
   Modifications, Motions for Reconsideration, Vacate Wage Orders, Praceipe for Discharge, Bankruptcy Chapter
   Conversions, Redemption of Property, Lexis & Pacer Research, Credit, Property, Judgements, & Liens Reports.
   The above legal services will be billed at a hourly rate of $350/hour per attorney.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                  05/24/2018                         /s/ Michael A. Cibik, Esquire
                     Date                            Michael A. Cibik, Esquire                  Bar No. 23110
                                                     Cibik & Cataldo, P.C.
                                                     1500 Walnut Street, Suite 900
                                                     Philadelphia, PA 19102
                                                     Phone: (215) 735-1060 / Fax: (215) 735-6769




    /s/ Charles Stewart Cohen                                      /s/ Ofelia Cohen
  Charles Stewart Cohen                                           Ofelia Cohen
